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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

VAMSIDHAR VURIMINDI                                            :        CIVIL ACTION
                                                               :
         v.                                                    :
                                                               :        No. 13-39
HSFLB CONDOMINIUM OWNERS                                       :
ASSOCIATION, et al.                                            :

                                               MEMORANDUM

Ludwig, J.                                                                                    June 20, 2013

         On January 4, 2013, plaintiff Vamsidhar Vurimindi, pro se, commenced this

action. It purports to be a civil rights action, and jurisdiction is federal question.

According to the complaint, as a result of the actions of numerous defendants1,

plaintiff was arrested and incarcerated, was issued a restraining order prohibiting him

from entering his own condominium, and was criminally charged with harassment

and stalking. He requests injunctive relief and economic recovery.2

                                                       Facts

         Plaintiff, a native of India and a practicing Hindu, is the owner of Unit # 607 at

the Hoop Skirt Factory Loft Building, a condominium complex in Philadelphia.

Complaint, ¶¶ 6-7. Beginning in 2009, plaintiff’s relations with his neighbors and local




1
  Defendants are HFSLB Condominium Owners Association, the City of Philadelphia, the Commonwealth of
Pennsylvania, the Office of the District Attorney of Philadelphia, George J. Dilworth, Jr. (a Philadelphia police
officer), Allison Borkowski (a neighbor at HSFLB), Michael Borkowski (Allison’s father), Rajani Pattinson (a former
neighbor at HSFLB), Lauren Westfield (a neighbor at HSFLB), Kendra Brill (a neighbor at HSFLC), Nicholas Palmer (a
neighbor at HSFLB), Leo Addimando (developer of HSFLB), Starbucks, Inc., and a number of John Doe defendants,
including unidentified Philadelphia police officers and detectives, Commonwealth judges, attorneys, police officers
and detectives, and Philadelphia residents.
2
 This is not the first litigation arising from events occurring at HSFLB. See Vurimindi v. Borowski, C.P. Phila., No.
1101-02212. The Tenth Amended Complaint in Vurimindi v. Borowski is attached to the City’s motion to dismiss at
Exhibit 1 (doc. no. 9)
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merchants became strained.3 Id., ¶¶ 112-369. In late summer 2010, defendant Allison

Borowski filed a private criminal complaint against plaintiff, which resulted in an

indictment for stalking and harassment and the issuance of a restraining order

against plaintiff in a criminal action docketed at CR-10-09-15-9559. Id., ¶¶ 310-385.

The Philadelphia District Attorney’s Office and the Commonwealth are alleged to have

been complicit in approving the private complaint without properly investigating the

claims before lodging charges against plaintiff. Id., ¶¶ 431-478.

         Plaintiff, in turn, filed a civil action against his neighbors in the Philadelphia

Court of Common Pleas styled Vurimindi v. Borowski, C.P. Phila., No. 1101-02212. Id.,

¶¶ 415, 497. In retaliation, plaintiff’s neighbors, assisted by the Philadelphia Police and

the District Attorney’s Office, spied on and harassed plaintiff, and filed further

complaints against him. Id., ¶¶415-430. Strained relations between plaintiff and his

neighbors continued, resulting in the filing of criminal charges against plaintiff in

Municipal Court at MC-51-CR-9000095-2011, and the issuance of a mutual “stay-

away” order in that case on May 20, 2011. Id., ¶¶469-560.

         In December 2011, a hearing was held in the Municipal Court matter. Id., ¶¶

561-587. In the course of the proceedings, the Philadelphia Assistant District Attorney

proposed a plea bargain that included plaintiff’s withdrawal of his civil claims against

his neighbors and the Commonwealth’s withdrawal of charges against plaintiff. Id., ¶¶

588, 746. The bargain was later modified to require plaintiff to undergo a

psychological evaluation. Id., ¶¶ 590, 738-740. Plaintiff declined the offer. Id., ¶¶ 591,

747. The mutual “stay-away” order was rescinded and a restraining order issued

against plaintiff only. Id., ¶¶ 595, 597. Strained relations continued. Id., ¶¶ 599-618.


3
 Strained relations refers to conduct engaged in by both plaintiff and his neighbors, including but not limited to
playing loud music, slamming doors, taping notes on doors, exchange of e-mails, angry stares, trading insults,
eavesdropping, use of video surveillance and calling the police.

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On February 4, 2012, plaintiff was arrested for violating the restraining order and for

disorderly conduct. Id., ¶ 619. Further criminal charges were filed against him at MC-

51-CR-0005022-2012. Id., ¶ 756

        On February 8, 2012, following a court ordered psychological examination,

plaintiff was found incompetent to stand trial in the Municipal Court case. Id., ¶¶ 624,

751. On February 10, 2012, following a hearing, plaintiff was detained and required to

undergo mental health treatment in prison. Id., ¶¶ 634, 752-755. Following a hearing

on March 14, 2013, he was released, but required to stay with his sister in Virginia

Beach and not return to his HSFLB condominium. Id., ¶¶ 641, 758-763. Plaintiff later

requested permission to return to his condominium to begin a new job that would

permit him to work at home. Id., ¶¶ 765-66. The request was denied, and though

plaintiff was permitted to return to Pennsylvania, he was ordered to remain two blocks

from HSFLB. Id., ¶¶ 647, 767.

        In April, 2012, plaintiff agreed to move out of HSFLB in exchange for the

withdrawal of criminal charges against him.4 Id., ¶¶ 650-51, 769-772.

        In May, 2012, plaintiff filed preliminary objections to the preliminary objections

filed by defendants in Vurimindi v. Borowski. Id., ¶¶ 654-55, 773. Based on the

preliminary objections5, and other allegations made by plaintiff’s neighbors, in July,

2012, the District Attorney’s Office filed further criminal charges against plaintiff at

CP-51-CR-0008022-1012. Id., ¶¶ 774-783. In the course of those proceedings, plaintiff

has undergone three psychological evaluations and has been found incompetent to

stand trial.


4
  It is not clear from the complaint which charges were included in this agreement. It further appears that the
agreement did not come to fruition. Id., ¶¶ 652-54.
5
  The preliminary objections referenced video footage obtained by plaintiff of his neighbors that he asserted would
negate their accusations against him; the District Attorney’s Office viewed the surveillance as further stalking and
harassment by plaintiff. Id., ¶¶ 777-78.

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      The complaint includes the following claims:

       Counts I, II and III - civil rights violations under 42 U.S.C. § 1983 against the

state actors, including retaliation for exercise of First Amendment rights, violation of

First Amendment rights, and denial of equal protection;

       Counts IV, V, VI and VII - civil rights violations under 42 U.S.C. § 1983

against Officer Dilworth, the John Does officers and the City, including unreasonable

search and seizure, false arrest, and excessive force;

       Count VIII - a Monell claim against the City;

       Counts IX-XII - supplemental state law claims against Officer Dilworth and

the John Doe officers, including battery, false arrest, concert of action, and invasion of

privacy;

       Count VIII - discrimination in public accommodation in violation of 42 U.S.C.

§ 1981 against Starbucks;

       Counts XIV and XV - abuse of process against Allison Borowski and Rajani

Pattinson;

       Count XVI - a Monell claim against the District Attorney’s Office;

       Counts XVII and XVIII - substantive and procedural due process claims

against the District Attorney’s Office and the John Does staff members;

       Counts XIX, XX, XXII and XXIII - claims for intentional and negligent infliction

of emotional distress, conspiracy, violation of Fair Housing Act and unlawful taking

under the Fifth and Fourteenth Amendments against HSFLB owners association,

Allison Borowski, Michael Borowski, Rajani Pattinson, Lauren Westfield, Kendra Brill,

Nicholas Palmer, Leo Addimando, Officer Dilworth, the John Does officers, the staff

members the District Attorney’s Office, the City, and the Commonwealth; and



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          Count XXI - a conspiracy claim against HSFLB owners association, Allison

Borowski, Michael Borowski, Rajani Pattinson, Lauren Westfield, Kendra Brill,

Nicholas Palmer, Leo Addimando, Officer Dilworth, and the John Doe officers.

                                         Dismissal of Complaint

        Ten motions to dismiss the complaint have been filed by defendants.6 For the

reasons outlined below, the motions filed by the City of Philadelphia and Officer

Dilworth will be granted and the complaint dismissed without prejudice to the filing of

an amended complaint upon further order of court.

        According to defendants, the complaint must be dismissed because it does not

comport with the requirements of Fed. R. Civ. P. 8. That rule requires “a short and

plain statement of the claim,” and that “each allegation must be simple, concise and

direct.” Simpson v. Coatesville, 2010 WL 149895, at *1 (E.D. Pa., filed Jan 12, 2010)

(“rambling and unclear” pleading was dismissed and pro se plaintiff granted leave to

amend “as legibly, clearly and briefly as possible.”) Hoffenberg v. Grondolsky, 2009 WL

5103181, at *4 (D.N.J, filed Dec. 17, 2009) (371-paragraph complaint dismissed and

pro se plaintiff permitted to amend as follows: “Plaintiff will have one final chance to

state his claims. Plaintiff, however, must submit a clear and concise pleading. Plaintiff

cannot keep submitting overly lengthy pleadings, cannot keep recycling his prior




6
  The motions filed by the City and Officer Dilworth (doc. nos. 9 and 41) assert primarily that the complaint does
not comport with Fed. R. Civ. P. 8. The motions filed by defendants Michael Borowski, Leo Addimando, the HSFLB
owners association, Lauren Westfield, and Allison Borowski (doc. nos. 40, 60, 61, 70, and 80) assert that the
complaint does not state viable claims under Twombly and Iqbal. The Commonwealth’s motion (doc. no. 48)
asserts that the Eleventh Amendment bars jurisdiction or, in the alternative, that the complaint fails to state a
claim against the Commonwealth under Twombly and Iqbal. The motion filed by the District Attorney’s Office and
John Does officers (doc no. 49) asserts that plaintiff’s claims are barred by the Eleventh Amendment and sovereign
immunity. The motion filed by Rajani Pattinson (doc. no. 56) asserts that the claims in the complaint are barred by
res judicata, all claims against her having been dismissed with prejudice in Vurimindi v. Borowski. The docket
reflects service on defendant Kendra Brill, (doc. no. 65) but she has not filed an answer or responsive pleading as
yet. It does not appear from the docket that Norman Palmer or Starbucks have been served.

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submissions and should stop substituting facts for conclusory statements.” Emphasis

in original.)7

         Here, the complaint is a 164-page, 1087-paragraph narrative that appears to

recount every exchange plaintiff has had with all of the defendants and many

individuals who are not named in the complaint. It recycles averments from other of

plaintiff’s cases, including Vurimindi v. Fuqua8, currently pending in this court;

Vurimindi v. Achek9, Vurimindi v. Wyeth10 and Vurimindi v. City11, all filed in this court

but previously dismissed; and Vurimindi v. Borowski12, currently pending in the

Philadelphia Court of Common Pleas. It is replete with conclusory statements. It is

unwieldy at best and does not provide defendants or the court with fair notice of the

factual basis for plaintiff’s claims. Therefore, it must be dismissed. Any amended

complaint that is filed is to include only those facts necessary to state the claims

plaintiff intends to pursue. Plaintiff is strongly encouraged to retain counsel to assist

in the preparation of the amended pleading.

                                     Request for Injunctive Relief

         Plaintiff contends that the criminal charges against him are baseless and false,

and that the resulting criminal proceedings have deprived him of his right to life

liberty and property. Plaintiff requests an injunction barring further proceedings in

Commonwealth of Pennsylvania v. Vurimundi, C.P. Phila., No. 51-CR-0008022-2012.


7
  Though he is pro se, plaintiff should be familiar with the requirements of Fed, R. Civ. P. 8. A prior action,
Vurimindi v. Achak, U.S.D.C., Civ. A. No. 09-5976, was dismissed, in part, for failure to satisfy these requirements.
In that case, too, the complaint was in excess of 150 pages long.
8
  Vurimindi v. Fuqua Business School, et al., U.S.D.C., E.D. Pa., Civ. A. No. 10-234. See complaint, ¶¶ 79-109.
9
  Vurimindi v. Achek, et al., U.S.D.C., E.D. Pa., Civ. A. No. 09-5976. See complaint, ¶¶66-78.
10
   Vurimindi v. Wyeth, et al., U.S.D.C., E.D. Pa., Civ. A. No. 10-386. See complaint, ¶¶ 79-109.
11
   Vurimindi v. City, U.S.D.C., E.D. Pa., Civ. A. No. 10-88. See Complaint, ¶¶ 66-78.
12
   A copy of the Tenth Amended Complaint in Borowski is attached to the City’s motion to dismiss as Exhibit A (doc.
no. 9). Also attached is the court’s order denying Vurimindi’s request to further amend to add new allegations, and
directing him to file a separate state court complaint and move to consolidate the actions. City’s motion to dismiss,
Exhibit B (doc. no. 9). This action appears to have been filed instead.

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See docket entries, Exhibit 1 to the District Attorney’s Office’s motion to dismiss

plaintiff’s request for injunctive relief (doc. no. 30). Additionally, he requests an

injunction permitting him to return to his condominium at HSFLB. The District

Attorney’s Office argues that abstention is appropriate in these circumstances, and

even if it were not, plaintiff has not satisfied the requirements for the issuance of a

temporary restraining order or preliminary injunction. Plaintiff’s motion must be

denied.

                                       Abstention

       The Third Circuit has set forth a “three-prong test to determine whether courts

should abstain from addressing the merits of a federal action in the face of ongoing

state criminal litigation. Abstention under Younger is appropriate only where: (1) there

are ongoing state proceedings that are judicial in nature; (2) the state proceedings

implicate important state interests; and (3) the state proceedings afford an adequate

opportunity to raise the federal claims.” Lui v. Comm’n on Adult Entertainment

Establishments, 369 F.3d 319, 326 (3d Cir. 2004); Younger v. Harris, 401 U.S. 37, 44

(1971). Each prong of the test is satisfied here.

       Here, state proceedings are ongoing, but delayed due to plaintiff’s incompetency

to stand trial. The criminal proceedings implicate important state interests –

protection of individuals such as plaintiff’s neighbors from unwanted harassment

such as that with which plaintiff is charged. It is the role of the District Attorney’s

Office to protect these interests. Commonwealth v. Stipetich, 652 A.2d 1294, 1295 (Pa.

1995) (citation omitted). The state proceedings provide plaintiff with an adequate

remedy to raise his federal claims: plaintiff can produce evidence to support his

defense that his neighbors have fabricated their claims against him and that the police

have been complicit. Cunnane v. Montgomery Cty. Dist. Att’y Office, 1993 WL 542443,


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at *2 (E.D. Pa., filed Dec. 23, 1998) (the “reasons that plaintiff sets forth can be fully

presented to the trier of fact if there is an evidentiary basis for the allegations of

fabrication.”). It is the role of a jury to weigh that evidence, not the role of this court.

       An exception to abstention under Younger exists “when a state prosecution is

brought in bad faith or for purposes of harassment.” Younger, 401 U.S. at 54. Plaintiff

has alleged that the criminal proceedings against him are being pursued in bad faith

and for purposes of harassment, however, “[o]nly in cases of proven harassment or

prosecutions undertaken by state officials in bad faith without hope of obtaining a

valid conviction and perhaps in other extraordinary circumstances where irreparable

injury can be shown is federal injunctive relief against state prosecutions appropriate.”

Perez v. Ledesma, 401 U.S. 82, 85 (1971). Plaintiff alleges that he possesses evidence

to disprove the charges against him, but does not assert that the District Attorney’s

Office filed the charges with no hope of a conviction. See Helfant v. Kugler, 421 U.S.

117, 126 n.6 (1975) (“the party bringing the state action must have no reasonable

expectation of obtaining a favorable outcome.”) Plaintiff baldly alleges that the District

Attorney’s Office abandoned its standard practices when it filed charges based upon

the private criminal complaint of defendant Borowski, but does not describe which

procedures were abandoned, or why the decision to file the charges against plaintiff

“constituted anything other than a straightforward enforcement of the law.” Schlagler

v. Phillips, 166 F.3d 439, 443-44 (2d Cir. 1999).

       Plaintiff has not established a basis for an exception to abstention under

Younger.

       Request for Temporary Restraining Order and Preliminary Injunction

       Even if abstention was not appropriate here, plaintiff’s requests for a temporary

restraining order and preliminary and permanent injunction to bar further state court


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criminal proceedings against him would have to be denied. These are extraordinary

forms of relief, available only in exceptional circumstances. The standards for

obtaining either form of relief are the same. Plaintiff must show that (1) he is likely to

prevail on the merits; (2) irreparable harm will result if the relief is not granted; (3) no

greater harm will result to the opposing party if relief is granted; and (4) a grant of

relief is in the public interest. Child Evangelism Fellowship of New Jersey v. Stafford

Township Sch. Dist., 386 F.3d 514, 524 (3d Cir. 2004). These elements are not

satisfied in this case.

       The District Attorney’s Office argues that it, rather than plaintiff, is likely to

prevail on plaintiff’s substantive constitutional claims because the prosecutor against

whom claims are asserted is immune from suit and the District Attorney’s Office itself

is entitled to Eleventh Amendment immunity. Moreover, it argues that plaintiff has not

and cannot show that irreparable harm will result if the criminal proceedings are not

enjoined. To the contrary, plaintiff will have the opportunity to defend against the

criminal charges against him before a jury as soon as he is deemed competent to

stand trial. Harm to the District Attorney’s Office and the Commonwealth will result

from enjoining the criminal proceedings, in that they will be unable to discharge their

duty to protect the interests of the victims of plaintiff’s alleged crimes. Finally, granting

an injunction based on the allegations in plaintiff’s complaint would send a message

to state court criminal defendants that they can avoid prosecution by pursuing

constitutional claims in federal court rather than seeking redress in the pending state

actions. The resulting disruption in orderly resolution of criminal cases would not be

in the public interest.

       Accordingly, plaintiff has not satisfied the requirements for the issuance of a

temporary restraining order or injunction and his motion must be denied.


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                                        Recusal

      Plaintiff requests this judge’s recusal based on the fact that four of his previous

actions were assigned to this judge and three were dismissed. “The standard for

recusal is whether an objective observer reasonably might question the judge’s

impartiality.” Massachusetts School of Law v. American Bar Ass’n, 107 F.3d 1026,

1042 (3d Cir. 1997). Plaintiff contends that a layperson, confronted with the prior

dismissals, would question this judge’s ability to act impartially because this case is

based, to some extent, on conduct arising in the prior cases. However, “judicial rulings

alone almost never constitute a valid basis for a bias or partiality motion.”

Massachusetts School of Law, at 1043, quoting Liteky v. United States, 510 U.S. 540,

555 (1994). “A judge’s consistent pattern of ruling against a party could be entirely

justified for that party might consistently be taking positions that cannot be

supported.” Massachusetts School of Law, at 1043. That such occurred here is

evidenced by the affirmance by the Third Circuit Court of Appeals of the dismissals

referenced by plaintiff. See Vurimindi v. Achek, Civ. A. No. 09-5976, doc. no. 62;

Vurimindi v. Wyeth, Civ. A. No. 10-386, doc no. 41; Vurimindi v. City, Civ. A. No. 10-88,

doc no. 54.

      Accordingly, plaintiff’s motion for recusal must be denied.



                                         BY THE COURT:



                                         /s/ Edmund V. Ludwig
                                         Edmund V. Ludwig, J.




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